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                            UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF CONNECTICUT


JOHN DOE                                              :
                                                      :
         Plaintiff                                    :              CIVIL ACTION NO.:
                                                      :              3:19-cv-00620-AWT
vs.                                                   :
                                                      :
YALE UNIVERSITY, ET AL                                :
                                                      :
         Defendants                                   :              JULY 2, 2019

                                      MOTION TO SEAL

         Pursuant to Rule 5(e)(4)(b) of the Local Rules of Civil Procedure for the District Court

for the District of Connecticut, and in anticipation of responding to the plaintiff’s Request to

Enter Default, the defendants hereby move to file under seal their response to the plaintiff’s

Request to Enter Default.       The defendants’ response contains confidential information

regarding the circumstances that led to the defendants’ belief that an answer to the complaint

was no longer required based on events that occurred over the past two months.               The

defendants seek to seal their response to the Request to Enter Default to protect their privacy

interests, as well as those of the plaintiff. Defense counsel contacted both Attorney Hernandez

and Attorney Einhorn regarding their position on this motion, but did not receive a response

from either attorney.



         WHEREFORE, the defendants respectfully request that their motion to seal be granted.
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                                                       THE DEFENDANTS,
                                                       YALE UNIVERSITY, MARVIN
                                                       CHUN, JOHN MAYES, JORDAN
                                                       PILANT, MARIA PINANGO, MARK
                                                       SOLOMON, JORDON WHITE AND
                                                       ANGELA GLEASON



                                                  BY: /s/ Patrick M. Noonan (#ct00189)
                                                      Patrick M. Noonan
                                                      Colleen Noonan Davis (#ct27773)
                                                      Donahue, Durham & Noonan, P.C.
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                                                      (203) 458-9168




                                       CERTIFICATION

        I hereby certify that, on the above-written date, a copy of the foregoing was filed
electronically and served by mail on anyone unable to accept electronic filing. Notice of this
filing will be sent by e-mail to all parties by operation of the court’s electronic filing system or
by mail to anyone unable to accept electronic filing as indicated on the Notice of Electronic
Filing. Parties may access this filing through the court’s CM/ECF System.



                                                                      /s/
                                                                Patrick M. Noonan




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